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                                                                   Minimum Mandatory NO
                                                                   Rule 35/5K1.1 YES
                                                                   Appeal Waiver YES
                                                                   Asset Forfeiture YES


                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF GEORGIA
                                 BRUNSWICK DIVISION


 UNITED STATES OF AMERICA                          CR 217-51


                   V.



 MARK ALAN CIOPRYNA


                          SUMMARY OF PLEA AGREEMENT


DEFENSE COUNSEL;


Robert S. Willis


STATUTES CHARGED:


Count One -18 U.S.C. 371 - Conspiracy
Forfeiture Allegation

COUNT PLEADING TO:


Count One -18 U.S.C, 371 - Conspiracy

MAXIMUM STATUTORY PENALTY:


Imprisonment for not more than 5 years;
Fine of not more than $250,000 pursuant to 18 U.S.C.§ 3571;
Not more than 3 years supervised release, pursuant to 18 U.S.C.§ 3583;
$100 special assessment.
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ELEMENTS OF THE OFFENSE;


    First:         two or more persons in some way agreed to try to accomplish a shared and
                   unlawful plan;
    Second:        the Defendant knew the unlawful purpose ofthe plan and willfully joined
                   in it;
    Third:         during the conspiracy, one of the conspirators knowingly engaged in at
                   least one overt act as described in the Information; and
    Fourth:        the overt act was committed at or about the time alleged and with the
                   purpose of carrying out or accomplishing some object ofthe conspiracy.


TERMS OF PLEA AGREEMENT:


    • Defendant waives indictment by the Grand Jury.

    • Defendant will plead guilty to Count One ofthe Superseding Information.

    • The government will not object to a recommendation by the U.S. Probation Office
      that Defendant receive an appropriate reduction in offense level for acceptance of
      responsibility pursuant to Section 3E1.1 of the Sentencing Guidelines.

    • Defendant agrees to provide full, complete, candid, and truthful cooperation to the
      government. The government, in its sole discretion, will decide whether that
      cooperation qualifies as "substantial assistance" that warrants the filing of a motion
        for downward departure or reduction in sentence.

    • Defendant agrees to forfeit his interest in the property described in the forfeiture
      allegation ofthe Superseding Information.

    • Defendant waives his right to appeal on any ground, with only three exceptions: he
      may appeal his sentence if(I)that sentence exceeds the statutory maximum,(2)that
      sentence exceeds the advisory Guidelines range determined by this Court at
      sentencing, or(3)the government appeals.

    • Defendant entirely waives his right to collaterally attack his conviction and sentence
      on any ground and by any method, including but not limited to a 28 U.S.C. § 2255
      motion. The only exception is that Defendant may collaterally attack his conviction
        and sentence based on a claim of ineffective assistance of counsel.

    • Defendant waives all rights to request information about the investigation and
      prosecution of his case under the Freedom of Information Act or the Privacy Act.
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     Defendant waives the protections of Rule 11(f) of the Federal Rules of Criminal
     Procedure and Rule 410 ofthe Federal Rules of Evidence. If he fails to plead guilty,
     or later withdraws his guilty plea, all statements made by him in connection with that
     plea, and any leads derived therefrom, shall be admissible for any and all purposes.




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                                                                      Minimum Mandatory NO
                                                                     Rule35/5K1.1 YES
                                                                     Appeal Waiver YES
                                                                     Asset Forfeiture YES


                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISION


 UNITED STATES OF AMERICA                       )    CR 217-51

                 V.



 MARK ALAN CIOPRYNA


                                    PLEA AGREEMENT


       Defendant, represented by counsel, and the United States of America, represented by

Assistant United States Attorney Karl I. Knoche, have reached a plea agreement in this case. The

terms and conditions of that agreement are as follows.

1.     Guilty Plea


       Defendant agrees to enter a plea of guilty to Count One ofthe Superseding Information,

which charges a violation of 18 U.S.C. § 371.

2.     Elements and Factual Basis


       The elements necessary to prove the offense charged in Count One are:

       First;         two or more persons in some way agreed to try to accomplish a shared and
                      unlawful plan;
       Second:        the Defendant knew the unlawful purpose ofthe plan and willfully joined
                      in it;
       Third:         during the conspiracy, one ofthe conspirators knowingly engaged in at
                      least one overt act as described in the Information; and
       Fourth:        the overt act was committed at or about the time alleged and with the
                      purpose of carrying out or accomplishing some object ofthe conspiracy.
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       Defendant agrees that he is, in fact, guilty ofthis offense. He agrees to the accuracy ofthe

following facts which satisfy each ofthe offense's required elements:

       1. That from on or about October 9, 2014, up to and including on or about June 13, 2017,

in Camden County, in the Southern District of Georgia, and elsewhere, the defendant, MARK

ALAJV CIOPRYNA,aided and abetted by others, did knowingly and willfully combine,

conspire, confederate and agree with other persons:

       a)to knowingly and intentionally distribute and dispense, and cause to be distributed and

dispensed, quantities of controlled substances, including oxycodone, hydromorphone, and

hydrocodone, Schedule II controlled substances, and alprazolam, a Schedule IV controlled

substance, not for a legitimate medical purpose and not in the usual course of professional

practice, contrary to Title 21, United States Code, Section 841(a)(1); and

       b)to knowingly and willfully engage in financial transactions concerning Coastline

Physical Medicine and Rehabilitation, Brunswick, Georgia, which transactions involved the

proceeds of specified unlawful activity, that is, the unlawful distribution and dispensation of

controlled substances, in violation of Title 21, United States Code, Section 841(a)(1), with the

intent to promote the carrying on ofthe aforesaid specified unlawful activity and to conceal or

disguise the nature, the location, the source, the ownership, or the control ofthe proceeds of

specified unlawful activity, contrary to Title 18, United States Code, Sections 1956(a)(l)(A)(i)

and 1956(a)(I)(B)(i).

       All done in violation of Title 18, United States Code, Section 371.

3.     Possible Sentence


       Defendant's guilty plea will subject him to the following maximum possible penalty:

Imprisonment for not more than 5 years; Fine of not more than $250,000 pursuant to 18 U.S.C.§
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3571; Not more than 3 years supervised release, pursuant to 18 U.S.C.§ 3583;$100 special

assessment,


4.      No Promised Sentence


       No one has promised Defendant that the Court will impose any particular sentence or a

sentence within any particular range. The Court is not bound by any estimate of sentence given

or recommendations made by Defendant's counsel, the govemment,the U.S. Probation Office,

or anyone else. The Court may impose a sentence up to the statutory maximum. Defendant will

not be allowed to withdraw his plea of guilty if he receives a more severe sentence than he

expects.

5.     Court's Use of Guidelines


       The Court is obligated to use the United States Sentencing Guidelines to calculate the

applicable guideline range for Defendant's offense and to consider that range, possible

departures under the Sentencing Guidelines, and other sentencing factors under 18 U.S.C. §

3553(a), in determining his sentence. The Sentencing Guidelines are advisory; the Court is not

required to impose a sentence within the range those Guidelines suggest. The Sentencing

Guidelines are based on all of Defendant's relevant conduct, pursuant to U.S.S.G. § IB 1.3, not

just the facts underlying the particular Count to which Defendant is pleading guilty.

6.     Agreements Regarding Sentencing Guidelines


       a.      Acceptance of Responsibility


       The govemment will not object to a recommendation by the U.S. Probation Office that

Defendant receive a two-level reduction in offense level for acceptance of responsibility pursuant

to Section 3El.l(a) ofthe Sentencing Guidelines.
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        b.     Use of Information


       The government is free to provide full and accurate information to the Court and U.S.

Probation Office for use in calculating the applicable Sentencing Guidelines range. Any

incriminating information provided by the defendant during his cooperation will not be used in

determining the applicable Guidelines range, pursuant to U.S.S.G. § IB 1.8.

7.     Restitution


       The amount of restitution ordered by the Court shall include restitution for the full loss

caused by Defendant's total criminal conduct. Restitution is not limited to the specific counts to

which Defendant is pleading guilty. Any payment schedule imposed by the Court is without

prejudice to the United States to take all actions and remedies available to it to collect the full

amount ofthe restitution. Any restitution judgment is intended to and will survive Defendant,

notwithstanding the abatement of any underlying criminal conviction.

8.     CooDeration


       a.      Complete and Truthful Cooperation Required


       Defendant must provide full, complete, candid, and truthful cooperation in the

investigation and prosecution of the offenses charged in his Indictment and any related offenses.

Defendant shall fully and truthfully disclose his knowledge of those offenses and shall fully and

truthfully answer any question put to him by law enforcement officers about those offenses.

       This agreement does not require Defendant to "make a case" against any particular

person. His benefits under this agreement are conditioned only on his cooperation and

truthfulness, not on the outcome of any trial, grand jury, or other proceeding.
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        b.      Motion for Reduction in Sentence Based on Cooperation


        The government, in its sole discretion, will decide whether Defendant's cooperation

qualifies as "substantial assistance" pursuant to U.S.S.G. § 5K1.1 or Fed. R. Crim. P. 35 and

thereby warrants the filing of a motion for downward departure or reduction in Defendant's

sentence. If such a motion is filed, the Court, in its sole discretion, will decide whether, and to

what extent. Defendant's sentence should be reduced. The Court is not required to accept any

recommendation by the government that the Defendant's sentence be reduced.

9.      Forfeiture


        a.      The defendant agrees to forfeit his interest in $74,891.00 United States currency

(the "Subject Property") seized from 4028 Peter Rabbit Drive, Jacksonville, Florida on June 13,

2017, said property constituting or derived from proceeds the defendant obtained directly or

indirectly as a result of said offense.

        By virtue ofthe commission ofthe offense charged in this Information by the defendant,

any and all interest the defendant has in the property subject to forfeiture is vested in the United

States and is hereby forfeited to the United States.

        b.      By this agreement. Defendant agrees to take all steps requested by the United

States to facilitate transfer of title ofthe Subject Property to the United States, including but not

limited to the signing of a consent order or decree, a stipulation offacts regarding the transfer

and basis for the forfeiture, and any other documents necessary to effectuate such transfer.

Defendant further agrees not to file any claim, answer, or petition for remission or restitution in

any administrative or judicial proceeding pertaining to the Subject Property. If any such a

document has already been filed. Defendant hereby withdraws that filing.
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        Defendant agrees to hold the United States and its agents and employees harmless from

any claims made in connection with the seizure, forfeiture, or disposal of property connected to

this case. Defendant further agrees to waive the requirements ofthe Federal Rules of Criminal

Procedure 32.2 and 43(a) regarding notice ofthe forfeiture in the charging instrument,

announcement ofthe forfeiture at sentencing, and incorporation ofthe forfeiture in the judgment.

Defendant acknowledges that he understands that the forfeiture of assets is part ofthe sentence

that may be imposed in this case and waives any failure by the Court to advise him ofthis

pursuant to Rule 1 l(b)(l)(J), at the time his guilty plea is accepted.

        Defendant agrees to waive any and all constitutional, statutory, and equitable challenges

on any grounds to the seizure, forfeiture, and disposal of any property seized in this case.

Defendant specifically agrees to waive any claims, defenses or challenges arising under the

Double Jeopardy Clause ofthe Fifth Amendment and the Excessive Fines Clause of the Eighth

Amendment.


10.     Waivers


        a.     Waiver OfIndictment


        The defendant understands that he has a right to have this matter submitted to a grand

jury for a probable cause determination and knowingly and voluntarily relinquishes this right.

        b.     Waiver of Appeal


        Defendant entirely waives his right to a direct appeal of his conviction and sentence on

any ground. The only exceptions are that the Defendant may file a direct appeal of his sentence

if(1)the court enters a sentence above the statutory maximum,(2)the court enters a sentence

above the advisory Sentencing Guidelines range found to apply by the court at sentencing; or(3)
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the Government appeals the sentence. Absent those exceptions, Defendant explicitly and

irrevocably instructs his attorney not to file an appeal.

        c.      Waiver of Collateral Attack


        Defendant entirely waives his right to collaterally attack his conviction and sentence on

any ground and by any method, including but not limited to a 28 U.S.C. § 2255 motion. The only

exception is that Defendant may collaterally attack his conviction and sentence based on a claim

of ineffective assistance of counsel.


        d.      FOIA and Privacy Act Waiver


        Defendant waives all rights, whether asserted directly or through a representative, to

request or receive from any department or agency ofthe United States any record pertaining to

the investigation or prosecution of this case under the authority ofthe Freedom of Information

Act,5 U.S.C. § 552, or the Privacy Act of 1974,5 U.S.C. § 552a, and all subsequent

amendments thereto.


        e.      Fed. R. Grim,P. IKfi and Fed. R.Evid. 410 Waiver


        Rule 11(f) ofthe Federal Rules of Criminal Procedure and Rule 410 ofthe Federal Rules

of Evidence ordinarily limit the admissibility of statements made by a defendant during the

course of plea discussions or plea proceedings. Defendant knowingly and voluntarily waives the

protections of these rules. If Defendant fails to plead guilty, or his plea of guilty is later

withdrawn, all of Defendant's statements in connection with this plea, and any leads derived

therefrom, shall be admissible for any and all purposes.
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11.     Other Representations


        Provided the defendant complies with all terms ofthis plea agreement and conditions of

pretrial release, the government agrees not to oppose bond or defendant's self-surrender to the

BOP.


12.     Required Financial Disclosure


        Not later than 30 days after the entry of his guilty plea, Defendant shall provide to the

United States, under penalty of perjury, a financial disclosure form listing all his assets and

financial interests, whether held directly or indirectly, solely or jointly, in his name or in the

name of another. The United States is authorized to run credit reports on Defendant and to share

the contents ofthe reports with the Court and U.S. Probation.

13.     Possible Immigration Effects


        Pleading guilty may have consequences with respect to immigration status if Defendant is

not a citizen ofthe United States. Under federal law, a broad range of crimes are removable

offenses. Removal and other immigration consequences are the subject of a separate proceeding.

No one, including Defendant's attorney or the district court, can predict to a certainty the effect

of his conviction on his immigration status. Defendant nevertheless agrees to plead guilty

regardless of any immigration consequences, even if the consequence is his removal from the

United States.


14.     Defendant's Rights

        Defendant has the right to be represented by counsel, and if necessary have the court

appoint counsel, at trial and at every other critical stage ofthe proceeding. Defendant possesses a

number of rights which he will waive by pleading guilty, including: the right to plead not guilty,

or having already so pleaded, to persist in that plea; the right to a jury trial; and the right at trial


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to confront and cross-examine adverse witnesses, to be protected from compelled self-

incrimination, to testify and present evidence, and to compel the attendance of witnesses.

15.    Satisfaction with Counsel


       Defendant has had the benefit of legal counsel in negotiating this agreement. Defendant

believes that his attorney has represented him faithfully, skillfully, and diligently, and he is

completely satisfied with the legal advice given and the work performed by his attorney.

16.    Breach of Plea Agreement


       If Defendant breaches the plea agreement, withdraws his guilty plea, or attempts to

withdraw his guilty plea, the government is released from any agreement herein regarding the

calculation of the advisory Sentencing Guidelines or the appropriate sentence. In addition, the

government may (1) declare the plea agreement null and void,(2) reinstate any counts that may

have been dismissed pursuant to the plea agreement, and/or(3)file new charges against

Defendant that might otherwise be barred by this plea agreement. Defendant waives any statute-

of-limitations or speedy trial defense to prosecutions reinstated or commenced under this

paragraph.

17.    Entire Agreement


       This agreement contains the entire agreement between the government and Defendant.

                                               R. BRl               R
                                                                    ATTORNEY




Date '                                         BriarfT. F^ffeity
                                               Chief, Criminal Division


}\ 0-2-
Date '                                         Karl I. Knoche
                                               Assistant United States Attorney
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        I have read and carefully reviewed this agreement with my attorney. I understand each

provision of this agreement, and I voluntarily agree to it. I hereby stipulate that the factual basis

set out therein is true and accurate in every respect.



I 0^
Date                                           Defendant                  ^ ^


        I have fully explained to Defendant all of his rights, and I have carefully reviewed each

and every part of this agreement with him. I believe that he fully and completely understands it,

and that his decision to enter into this agreement is an informed, intelligent, and voluntary one.




                                               D®fendant'^Attomey




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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                   BRUNSWICK DIVISION


 UNITED STATES OF AMERICA                             CR 217-51


                 V.



 MARK ALAN CIOPRYNA
                                              ORDER


       The aforesaid Plea Agreement, having been considered by the Court in conjunction with

the interrogation by the Court ofthe defendant and the defendant's attorney at a hearing on the

defendant's motion to change his plea and the Court finding that the plea of guilty is made freely,

voluntarily and knowingly, it is thereupon,

       ORDERED that the plea of guilty by defendant be, and it is, hereby accepted and the

foregoing Plea Agreement be, and it is, hereby ratified and confirmed.



               This         day of




                                      JjUDG^UNITED STATES DlSTRTe^OURT
                                              lERN DISTRICT OF GEORGIA
